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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA,

            Plaintiff,

                         v.                                 Case No. 1:19-cr-10117-IT
                                                            Leave to file granted on 10/16/19
 ROBERT FLAXMAN,

            Defendant.


                              DEFENDANT ROBERT FLAXMAN’S
                         SUPPLEMENTAL SENTENCING MEMORANDUM

          Robert Flaxman submits this supplemental sentencing memorandum for two reasons: (1)

to address a claim in the government’s sentencing memorandum that was not made in the

Complaint, Information, Rule 11 hearing, or PSR – namely, Robert’s purported “nonchalant

willingness to commit tax fraud;” and (2) to address several exhibits attached to the

government’s sentencing memorandum and correct related inaccuracies in the memorandum

itself.

          1. Robert’s Tax Filings

          In May 2016, when Singer asked Robert to fulfill his pledge to support USD’s sports

program and to do so through the Key Worldwide Foundation, Robert still had no idea Singer

was a fraud or that KWF was not what Singer claimed it to be. Before making the contribution,

Robert followed his standard practice with all charities and foundations: he asked KWF to

certify that it was a 501(c)(3) organization and asked his accountant to verify that certification

with the IRS. His accountant did so and then entered KWF as a charity in the accounting

software he used to track Robert’s expenses. As a result of that entry, when Robert’s tax



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accountant prepared Robert’s 2016 tax returns seventeen months later, in October 2017, the

accounting software automatically designated both the $250K contribution as well as the later

$75K payment to KWF as charitable deductions.

          Should Robert have foreseen this was going to happen and done something to prevent it?

Of course he should. Robert learned Singer was a fraudster in August 2016, when Singer first

offered to sell Robert a phony ACT score for his daughter. Robert should have corrected the

KWF entries then, and he knows it. But he did not fail to do so because he was intent on

defrauding the IRS. He failed to do so because he was asleep at the switch. In fall 2016, as the

deadline for applying to colleges approached, Robert was in a panic, knowing that if          did

not get in anywhere, he was going to have to find some other suitable post-treatment

environment for her. Getting through that whole process took months. So he was not thinking

about his 2017 tax return then, and he did not think about the KWF matter again until October

28, 2018, when Singer called him out of the blue for the first time in two years to say he was

being audited by the IRS and reminded Robert about the payments. Even then, as the transcript

of the call reflects, Robert was not sure he had even deducted the payments; the transcript quotes

him as saying to Singer: “I’m wondering if we took the deduction. I’m assuming we did.”

          After that call, Robert looked at his 2016 tax return (which was hundreds of pages long)

and confirmed that he had listed the KWF payments as tax deductions. He also learned that

doing so probably had no effect on his taxes because he had a large net operating loss that had

offset all of his income in 2016 and 2017, making deductions irrelevant. That meant he could fix




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the problem by simply not carrying forward the unused deduction to his 2018 tax return, which is

what he has done.1

          In short, Robert acknowledges that he was inexcusably careless in not following up with

his accountant to ensure that the amounts he paid Singer were not deducted on his tax returns.

Once he learned Singer was a fraudster he should have taken action. But the government goes

too far when it characterizes this failure as an aggravating factor that “warrants a meaningful

term of incarceration.” Gov’t Sent. Mem. at 3. Making a false statement on a tax return is a

three-year felony. 26 U.S.C. § 7206(1). Structuring financial transactions, in contrast, is a five-

year felony. 31 U.S.C. § 5324(d)(2). Yet the Court did not find that Mr. Sartorio’s admitted

structuring in connection the ACT cheating offense warranted a meaningful term of

incarceration.

          Nor does Robert deserve a “a meaningful term of incarceration” on the ground that when

Singer told him about the purported IRS audit, he did not react by stating that they should both

come clean to the government and admit engaging in the ACT fraud. Once again, the Court did

not find that Mr. Sartorio deserved a meaningful term of incarceration even though he received a

nearly identical call from Singer and likewise failed to insist that he and Singer both confess the

ACT scheme to the government. In fact, his response to Singer indicated no different intentions

or greater scruples than the government attributes to Robert in connection with a potential IRS

inquiry.2


          1
          Because of a quirk of the Alternative Minimum Tax, retroactively removing the
unused deduction from Robert’s 2016 return (which he has also done) triggered an $86 tax
increase, which he has paid.
          2
           Indeed, it appears Mr. Sartorio and Singer took pains to conceal their transaction not
just by structuring cash withdrawals but also by leaving no paper trail whatsoever. According to
the government’s sentencing memorandum in Mr. Sartorio’s case, Sartorio said to Singer:


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          2.                    ACT Scores

          The government’s sentencing memorandum states that                      took the ACT

twice on her own and both times “scored in approximately the 75th percentile.” That is

incorrect, as the government’s own exhibits reflect.           first took the exam in April 2016 and

received a composite score of 20, which is a score in the 51st percentile. That is reflected in

Exhibit A to the government’s memorandum. She retook the exam in September 2016 and

received a composite score of 24, which is a score in the 74th percentile. But in August 2016,

when Singer advised Robert that with a score of 20            would not likely get into any college

given                                                                                             ,

          had not yet taken the September exam; and she did not actually receive the results of the

September exam with the slightly better score.until after she took the test in October 2016 with

Riddell.

Date: October 11, 2019                                 Respectfully submitted,

                                                        ROBERT FLAXMAN,

                                                        By His Attorneys:

                                                        _/s/ William D. Weinreb_________
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             There is no-- no-- there is no record on my end like a 1040. There is nothing on
     my end that shows that your company, Rick, or anybody, received any cash payments.
     Only payments they could look at would be an invoiced amount or an actual check. And
     that what w-- that was already discussed. But anything that was done verbally, that was
     verbal and there’s no record. There’s nothing. There’s nothing.

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                                 CERTIFICATE OF SERVICE

          I hereby certify that the foregoing document was served by ECF on counsel of record

for the Government and all defense counsel on October 17, 2019.


                                              /s/ William D. Weinreb
                                              William D. Weinreb




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